
983 So.2d 915 (2008)
STATE ex rel. Lionel TOLBERT
v.
STATE of Louisiana.
No. 2007-KH-1867.
Supreme Court of Louisiana.
June 6, 2008.
In re Tolbert, Lionel;  Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of E. Baton Rouge, 19th Judicial District Court Div. L, No. 09-78-341.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; cf. La.C.Cr.P. art. 930.4(D).
